   4:18-cr-03128-JMG-CRZ Doc # 27 Filed: 10/31/18 Page 1 of 2 - Page ID # 35



                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                     Plaintiff,                              4:18CR3128

       vs.
                                                               ORDER
MAURICE J. PAOLA,

                     Defendant.



      After reviewing the forensic evaluation report of Mario J. Scalora, Ph.D., and
after examining Defendant and conferring with counsel, the court finds Defendant
lacks the ability to properly assist counsel in the defense of this case.

      Accordingly,

      IT IS ORDERED:

      1)     Defendant is currently mentally incompetent and unable to stand trial.
             The time between the court’s determination that competency must be
             evaluated and any determination, if any, that Defendant has become
             competent to stand trial, shall be excluded for speedy trial calculation
             purposes. 18 U.S.C. § 3161 (h)(4).

      2)     Defendant is remanded to the custody of the Attorney General of the
             United States for mental health and cognitive care and treatment,
             including but not limited to competency restoration, at a Federal
             Medical Center pursuant to the provisions of 18 U.S.C. §§ 4241 and
             4247.

      3)     The United States Marshal shall forthwith, without delay, transport the
             defendant to the facility in accordance with this order, at no cost to the
             defendant. The Marshal shall ensure the defendant receives all
4:18-cr-03128-JMG-CRZ Doc # 27 Filed: 10/31/18 Page 2 of 2 - Page ID # 36




         currently prescribed medications during transport to and from the
         Federal Medical Center.

   4)    The clerk shall provide a copy of this order to the Marshal upon filing.

   5)    The clerk shall set a case management deadline of November 30,
         2018 to check on Defendant’s transfer status and the location of the
         evaluating facility. The clerk shall place a non-public remark in the
         record when the location information is known and shall set a case
         management deadline for 60 days thereafter to follow up with the
         Marshal regarding Defendant’s location and evaluation status.

   6)    If Defendant is not returning to this district within 90 days of this order,
         the clerk shall bring this case to my attention.

   October 31, 2018.
                                           BY THE COURT:

                                           s/ Cheryl R. Zwart
                                           United States Magistrate Judge




                                       2
